Case 1:21-cv-03354-BAH Document 44-12 Filed 04/17/23 Page 1 of 4




          EXHIBIT 10
       Case 1:21-cv-03354-BAH Document 44-12 Filed 04/17/23 Page 2 of 4


From:           Joe Sibley
To:             Governski, Meryl Conant
Cc:             Houghton-Larsen, M Annie; Gottlieb, Michael; John Langford; Knoblett, John Tyler
Subject:        Re: Freeman v. Giuliani - Fifth Set of Interrogatories, Third Set of RFAs
Date:           Friday, March 24, 2023 5:15:36 PM



                                     *** EXTERNAL EMAIL ***



Meryl:

The rule does not require us to disclose every person who has "relevant information". The rule
requires us to disclose:

(i) the name and, if known, the address and telephone number of each individual
likely to have discoverable information—along with the subjects of that information
—that the disclosing party may use to support its claims or defenses, unless the
use would be solely for impeachment;

So this requires us to disclose persons with relevant information that we may use to
support its claims or defenses. It does not require us to disclose each and every
person with knowledge of what we consider relevant facts. That is something you
discovery through other discovery means, which you did in this case, through a
deposition.

Regards,

Joe

On Fri, Mar 24, 2023 at 3:47 PM Governski, Meryl Conant <MGovernski@willkie.com>
wrote:

  Thank you, Joe.

  While we don't have a transcript of the hearing, we understood that based on the specific
  objections raised about the lack of nexus between Mr. Giuliani’s testimony at his deposition
  and the initial disclosures that Defendant Giuliani would be amending his disclosures to
  reflect all of the individuals likely to have relevant information, as is required by Rule 26.
  But the amended disclosures do not include a number of individuals whom he testified to
  have relied on or whom would have relevant information inter alia Christina Bobb (86:21-
  87:25, 89:1-94:8, 388:4–18), Katherine Friess (258:4–25); and Col. Waldron (388:4–18).
  The amended disclosures thus appear incomplete. Please inform us whether Mr. Giuliani
  intends to amend his disclosures again to accurately reflect his testimony in this case, or if
  these individuals are incorporated in some other way.

  Have a nice weekend,

  Meryl
    Case 1:21-cv-03354-BAH Document 44-12 Filed 04/17/23 Page 3 of 4


Meryl Conant Governski
Willkie Farr & Gallagher LLP
1875 K Street, N.W. | Washington, DC 20006-1238
Direct: +1 202 303 1016 | Fax: +1 202 303 2000
mgovernski@willkie.com | vCard | www.willkie.com bio


From: Joe Sibley <sibley@camarasibley.com>
Sent: Friday, March 24, 2023 3:28 PM
To: Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; John Langford <john.langford@protectdemocracy.org>; Knoblett,
John Tyler <JKnoblett@willkie.com>
Subject: Re: Freeman v. Giuliani - Fifth Set of Interrogatories, Third Set of RFAs



                                *** EXTERNAL EMAIL ***



Please see attached amended disclosures.



On Fri, Mar 24, 2023 at 2:19 PM Houghton-Larsen, M Annie <MHoughton-
Larsen@willkie.com> wrote:

  Joe,

  Per the Court’s Minute Order dated March 21, 2023, we ask that you supplement and
  provide full answers to Interrogatory Nos. 1, 3, 5, 7, 8, 10, 18, 21 (as amended in the
  attached document) and 22. In addition, attached are Plaintiffs’ amended interrogatory 21
  and additional interrogatory Nos. 23-28.

  I also attached additional Requests for Admission.



  Thank you,

  Annie




  M.Annie Houghton-Larsen
  Willkie Farr & Gallagher LLP
  787 Seventh Avenue | New York, NY 10019-6099
  Direct: +1 212 728 8164 | Fax: +1 212 728 9164
  mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
  Pronouns: she, her, hers
    Case 1:21-cv-03354-BAH Document 44-12 Filed 04/17/23 Page 4 of 4




  Important Notice: This email message is intended to be received only by persons entitled to
  receive the confidential information it may contain. Email messages to clients of Willkie
  Farr & Gallagher LLP presumptively contain information that is confidential and legally
  privileged; email messages to non-clients are normally confidential and may also be
  legally privileged. Please do not read, copy, forward or store this message unless you are
  an intended recipient of it. If you have received this message in error, please forward it
  back. Willkie Farr & Gallagher LLP is a limited liability partnership organized in the
  United States under the laws of the State of Delaware, which laws limit the personal
  liability of partners.

Important Notice: This  email message is intended to be received only by persons entitled to
receive the confidential information it may contain. Email messages to clients of Willkie
Farr & Gallagher LLP presumptively contain information that is confidential and legally
privileged; email messages to non-clients are normally confidential and may also be legally
privileged. Please do not read, copy, forward or store this message unless you are an
intended recipient of it. If you have received this message in error, please forward it back.
Willkie Farr & Gallagher LLP is a limited liability partnership organized in the United
States under the laws of the State of Delaware, which laws limit the personal liability of
partners.
